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            United States Court of Appeals
                 for the Fifth Circuit
                                                              United States Court of Appeals
                                                                       Fifth Circuit

                                        FILED
                                 ___________
                                                              January 20, 2021
                                  No. 19-50691                    Lyle W. Cayce
                                 ___________                           Clerk

   Martha Gonzalez, individually and on behalf of all others
   similarly situated,

                                                           Plaintiff—Appellee,

                                      versus

   CoreCivic, Incorporated,

                                            Defendant—Appellant.
                    ____________________________

                   Appeal from the United States District Court
                        for the Western District of Texas
                             USDC No. 1:18-CV-169
                    ____________________________

   Before Smith, Ho, and Oldham, Circuit Judges.

                               JUDGMENT

           This cause was considered on the record on appeal and the briefs on
   file.
           IT IS ORDERED and ADJUDGED that the judgment of the
   District Court is AFFIRMED.
           IT IS FURTHER ORDERED that each party bears its own costs
   on appeal.



                                                                       A True Copy
                                                                       Certified order issued Feb 18, 2021


                                                                       Clerk, U.S. Court of Appeals, Fifth Circuit
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   James C. Ho, Circuit Judge, concurring.

   Andrew S. Oldham, Circuit Judge, dissenting.




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            United States Court of Appeals
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   Martha Gonzalez, individually and on behalf of all
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                                                             Plaintiff—Appellee,

                                       versus

   CoreCivic, Incorporated,

                                                         Defendant—Appellant.



                  Appeal from the United States District Court
                       for the Western District of Texas
                           USDC No. 1:18-CV-00169


   Before Smith, Ho, and Oldham, Circuit Judges.
   James C. Ho, Circuit Judge:
          Judges are not legislators. Legislators write laws—judges faithfully
   interpret them. So if a party wishes to have its activities exempted from a
   statute, it must ask the Legislature to enact such an exemption, not the
   judiciary.
          The Trafficking Victims Protection Act of 2000 (TVPA) imposes civil
   liability on “[w]hoever knowingly provides or obtains the labor or services of
   a person” by certain coercive means. 18 U.S.C. § 1589(a). See also id. § 1595
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   (civil remedy). CoreCivic claims its work programs categorically fall outside
   the reach of this forced-labor prohibition. But the text of the Act contains no
   such detainee-labor exemption. CoreCivic simply theorizes that Congress
   would not have wanted the law to reach work programs like the ones it runs.
          We agree with the district court as well as the Eleventh Circuit in
   rejecting this theory and therefore affirm. See Barrientos v. CoreCivic, Inc.,
   951 F.3d 1269, 1276–78 (11th Cir. 2020).
                                          I.
          CoreCivic is a private company that operates detention facilities
   holding alien detainees on behalf of Immigration and Customs Enforcement
   (ICE). As part of its contract with ICE, CoreCivic provides a work program
   for the detainees.    See U.S. Immigration & Customs Enf’t,
   Performance-Based National Detention Standards 2011
   § 5.8(I), (V) (PBNDS). The PBNDS requires these work programs to be
   voluntary. Id. at § 5.8(II)(2).
          But according to Martha Gonzalez, a former detainee, CoreCivic’s
   work programs are not voluntary. In truth, she says, CoreCivic forced her to
   clean the detention facilities, cook meals for company events, engage in
   clerical work, provide barber services for fellow detainees, maintain
   landscaping, and other labors. And if she refused, the company would
   impose more severe living conditions, including solitary confinement,
   physical restraints, and deprivation of basic human needs such as personal
   hygiene products.
          CoreCivic moved to dismiss on the ground that the TVPA does not
   regulate “labor performed by immigration detainees in lawful custody.” Or
   to rephrase it more bluntly, that its activities are categorically exempt from
   the TVPA. The district court denied the motion, concluding that the plain
   terms of § 1589(a) cover labor conducted by immigration detainees in a




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   private detention center. See Gonzalez v. CoreCivic, Inc., 2019 WL 2572540,
   at *2 (W.D. Tex. Mar. 1, 2019).
          The district court then granted CoreCivic’s motion to certify the
   following question for interlocutory appeal: “Whether the TVPA applies to
   work programs in federal immigration detention facilities.” We agreed to
   accept the appeal under 28 U.S.C. § 1292(b).
                                         II.
          “In statutory interpretation disputes, a court’s proper starting point
   lies in a careful examination of the ordinary meaning and structure of the law
   itself.” Food Mktg. Inst. v. Argus Leader Media, 139 S. Ct. 2356, 2364 (2019).
          Together, §§ 1589(a) and 1595 impose civil liability on “[w]hoever
   knowingly provides or obtains the labor or services of a person by any one of,
   or by any combination of” four coercive methods. 18 U.S.C. § 1589(a). See
   also id. § 1595 (civil remedy). CoreCivic contends that this language does not
   capture labor performed in work programs in a federal immigration detention
   setting.
          But nothing in the text supports this claim. CoreCivic is clearly an
   entity covered by the term “whoever.”            See 1 U.S.C. § 1 (defining
   “whoever” to include “corporations, companies, associations, firms,
   partnerships, societies, and joint stock companies, as well as individuals”).
   It has clearly “obtain[ed]” the labor of these alien detainees. See Obtain,
   American Heritage Dictionary (5th ed. 2011) (defining “obtain”
   as “[t]o succeed in gaining possession of as the result of planning or
   endeavor; acquire”). And CoreCivic does not even try to dispute that the
   term “person” naturally encompasses alien detainees.
          Instead, CoreCivic theorizes that, if we apply § 1589 to its work
   programs, then as night follows day, we must also apply it to parents who




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   compel their children to do ordinary household chores. The argument does
   not bear scrutiny. By that logic, a thief who steals a toy from a child could
   avoid a larceny conviction by claiming that no one would convict a parent for
   taking his child’s toy away for misbehavior. That argument would surely fail.
   And that is presumably because we do not construe criminal statutes like
   larceny or battery to reflexively apply to the parent-child relationship, but
   rather read them in light of parents’ well-established rights over their own
   children. Indeed, the Supreme Court has applied this principle to the
   Constitution, observing that “the Thirteenth Amendment was not intended
   to apply to ‘exceptional’ cases well established in the common law at the time
   of the Thirteenth Amendment, such as ‘the right of parents and guardians to
   the custody of their minor children or wards.’” United States v. Kozminski,
   487 U.S. 931, 944 (1988) (quoting Robertson v. Baldwin, 165 U.S. 275, 282
   (1897)). And the same logic applies here: Not every parent in America is a
   slaveowner, and not every parent in America is a human trafficker. As
   CoreCivic acknowledges, the Sixth Circuit had little trouble concluding that
   “forcing children to do household chores cannot be forced labor without
   reading [§ 1589] as making most responsible American parents and guardians
   into federal criminals . . . . An American parent has always had the right to
   make his child perform household chores.” United States v. Toviave, 761 F.3d
   623, 625 (6th Cir. 2014).
          Alternatively, CoreCivic claims that § 1589 must be construed
   narrowly to cover only forced labor that arises in the international human
   trafficking context. To support that claim, it cites various Congressional
   findings that express concerns specific to international human trafficking.
   But the text of § 1589 itself is broad, and not limited to forced labor in the
   international human trafficking context.
          CoreCivic also invokes Bond v. United States, 572 U.S. 844 (2014), for
   the proposition that “[p]art of a fair reading of statutory text is recognizing



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   that ‘Congress legislates against the backdrop’ of certain unexpressed
   presumptions.” Id. at 857 (quoting EEOC v. Arabian Am. Oil Co., 499 U.S.
   244, 248 (1991)).       According to CoreCivic, one such “unexpressed
   presumption” is that detainees would continue to be subject to work
   requirements in the detention context.
            But that overreads Bond.      Bond concerns federalism and “the
   well-established principle that it is incumbent upon the federal courts to be
   certain of Congress’ intent before finding that federal law overrides the usual
   constitutional balance of federal and state powers.” Id. at 858 (cleaned up).
   See also Loughrin v. United States, 573 U.S. 351, 362 (2014) (same). Bond does
   not give courts a free-floating power to create statutory exemptions anytime
   a judge thinks Congress would have exempted a certain activity had anyone
   asked.
            Because it lacks any serious textual argument, CoreCivic is forced to
   resort to extratextual considerations.      It quotes extensively from the
   legislative history of the TVPA to bolster its argument that § 1589(a) applies
   only to international human trafficking—and thus not to work programs in
   federal immigration detention facilities.        But legislative history cannot
   “‘muddy’ the meaning of ‘clear statutory language.’” Food Mktg. Inst., 139
   S. Ct. at 2364 (quoting Milner v. Dep’t of the Navy, 562 U.S. 562, 572 (2011)).
            Finally, CoreCivic invokes the rule of lenity. But that canon of
   interpretation has force only where a law is “grievously ambiguous, meaning
   that the court can make no more than a guess as to what the statute means.”
   Shular v. United States, 140 S. Ct. 779, 789 (2020) (Kavanaugh, J.,
   concurring). And § 1589(a) does not contain a categorical exemption—not
   even an ambiguous one—for work programs in detention facilities.




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                                            ***
          Because on its face § 1589 unambiguously protects labor performed in
   work programs in federal immigration detention facilities, the “judicial
   inquiry is complete.” Rubin v. United States, 449 U.S. 424, 430 (1981). We
   affirm.1




          1
              Amicus curiae contends that it would be absurd to interpret the TVPA to
   impose liability for labor obtained pursuant to PBNDS-compliant, federally-contracted
   work programs. Amicus also argues that CoreCivic may have immunity as a
   government contractor. See, e.g., Campbell-Ewald Co. v. Gomez, 577 U.S. 153, 166
   (2016); Ackerson v. Bean Dredging LLC, 589 F.3d 196, 204 (5th Cir. 2009). We express
   no view on these arguments. It may be that CoreCivic is immune from liability, or that
   it did not actually “obtain[]” Plaintiffs’ labor in a manner prohibited by the TVPA. But
   these questions are beyond the scope of the narrow question we accepted for
   interlocutory appeal—whether the TVPA “applies” to work programs in federal
   immigration detention facilities—and should therefore be addressed in the first
   instance by the district court.




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   James C. Ho, Circuit Judge, concurring:
          According to the dissent, we should resolve this appeal by deciding an
   issue not presented by the parties, either here or before the district court. But
   just last year, the Supreme Court rebuked the Ninth Circuit for doing just
   that—deciding an issue not presented by the parties, either on appeal or
   before the district court, without any compelling justification for doing so.
   See United States v. Sineneng-Smith, 140 S. Ct. 1575 (2020).
          “In our adversarial system of adjudication, we follow the principle of
   party presentation.” Id. at 1579. “[W]e rely on the parties to frame the
   issues for decision and assign to courts the role of neutral arbiter of matters
   the parties present.” Id. (quoting Greenlaw v. United States, 554 U.S. 237,
   243 (2008). “Our system ‘is designed around the premise that parties
   represented by competent counsel know what is best for them, and are
   responsible for advancing the facts and argument entitling them to
   relief.’” Id. (cleaned up) (quoting Castro v. United States, 540 U.S. 375, 386
   (2003) (Scalia, J., concurring in part and concurring in the judgment)). “In
   short: Courts are essentially passive instruments of government.” Id.
   (cleaned up). “They do not . . . sally forth each day looking for wrongs to
   right. They wait for cases to come to them, and when cases arise, courts
   normally decide only questions presented by the parties.” Id. (cleaned up).
          The dissent nevertheless insists that we should have reached the
   alleged pleading deficiency it has identified in this case. It accuses the
   majority of abdicating our judicial duty by answering only the question
   requested by the defendant and certified by the district court for
   interlocutory appeal. As the dissent puts it, “[w]e have no more right to
   decline the exercise of jurisdiction which is given, than to usurp that which is
   not given.” Post, at 13 (quoting Cohens v. Virginia, 19 U.S. 264, 404 (1821)).




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          But an appellate court is not required to go beyond the questions
   certified in an interlocutory appeal—and the dissent does not cite a single
   authority that says otherwise. To the contrary, the dissent’s authorities
   confirm that this is a matter of judicial discretion, not duty.
          For example, the dissent relies on our en banc decision in Castellanos-
   Contreras v. Decatur Hotels, LLC, 622 F.3d 393 (5th Cir. 2010). But there we
   confirmed that this is a matter of discretion, not duty: “The conclusion that
   we have the power to consider these [unspecified] questions does not end our
   jurisdictional analysis.     Interlocutory review under § 1292(b) is not
   mandatory; rather, it is discretionary. Thus, we must consider whether we
   should address these questions at this stage.” Id. at 399 (emphases added).
   And that conclusion is entirely compatible with Supreme Court precedent.
   Nothing in United States v. Stanley, 483 U.S. 669 (1987), suggests that courts
   are ever duty-bound to decide an uncertified issue. And Yamaha Motor Corp.
   v. Calhoun, 516 U.S. 199 (1996), makes clear that an “appellate court may
   address any issue fairly included within the certified order.” Id. at 205
   (emphasis added).
          What’s more, the dissent is unable to cite a single case where our court
   did what it urges us to do here—that is, exercise our discretionary
   interlocutory jurisdiction to reach an issue not presented by the parties either
   before the district court or on appeal. None of the cases cited by the dissent
   support this kind of judicial adventurism—and certainly not in the face of the
   Supreme Court’s unanimous admonition in Sineneng-Smith.1



          1
           For example, in Castellanos-Contreras, we went out of our way to explain that
   we were deciding an uncertified issue only because the parties had repeatedly pressed
   it: “[T]he parties have briefed the merits three times: to the original panel, in
   connection with the rehearing petitions, and in merits briefing to the en banc court.




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          So the idea that the dissent finds so abhorrent—“that we can choose,
   in our discretion, to limit ourselves to the question certified by the district
   court”—isn’t just some half-baked “theory.” Post, at 13. It’s the law.
                                            ***
          To be sure, the party presentation principle is “supple, not ironclad.”
   Sineneng-Smith, 140 S. Ct. at 1579. “There are no doubt circumstances in
   which a modest initiating role for a court is appropriate.” Id. See also id. at
   1582–83 (listing some such circumstances).
          “But this case scarcely fits that bill.” Id. at 1579. The defendant here,
   like the defendant in Sineneng-Smith, didn’t just fail to present the issue in
   question. It “presented a contrary theory of the case in the District Court.”
   Id. at 1581.
          In the district court, CoreCivic admitted in its motion to dismiss that
   Gonzalez’s complaint “alleges she was threatened with ‘punishment,
   including but not limited to lockdown and/or solitary confinement’”—and
   conceded that that is “conceivably enough at this stage to allege a ‘threat of
   serious harm’ under [18 U.S.C. §§ 1589] (a)(2) and (a)(4).” So the dissent’s
   theory—that Gonzalez’s complaint fails because compliance with the
   PBNDS constitutes compliance with the TVPA, and so Plaintiff must
   separately allege a violation of the PBNDS in order to adequately plead a


   Additionally, this case has been the subject of two oral arguments. After so much time
   and effort has been expended by both the parties and the court as a whole, the
   discretionary decision now becomes much different, and the majority of the court agrees
   it should be resolved in favor of hearing the merits.” 622 F.3d at 399–400. So too in
   Cazorla v. Koch Foods of Mississippi, L.L.C., 838 F.3d 540 (5th Cir. 2016), Luera v. M/V
   Alberta, 635 F.3d 181 (5th Cir. 2011), and Brabham v. A.G. Edwards & Sons Inc., 376
   F.3d 377 (5th Cir. 2004). The parties argued the unspecified issue before the district
   court and on appeal in Cazorla, 838 F.3d at 546–49, and Brabham, 376 F.3d at 379–80
   & n.2, and on appeal in Luera, 635 F.3d at 186–87.




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   violation of the TVPA—is not just an argument that Defendant never made,
   either before the district court or on appeal. It’s one that directly conflicts
   with Defendant’s actual positions before the district court.
          If anything, then, this is an especially weak case for disregarding the
   party presentation principle. Of course, if Defendant wishes to abandon its
   earlier position and pursue the pleading defect urged by the dissent, it may
   attempt to do so on remand—and the district court can determine in the first
   instance whether the issue is forfeited (or even waived) or remains open to
   litigation. As we have said on countless occasions, we are a court of review,
   not first view.
          But this brings up yet another problem with deciding the unspecified
   issue on interlocutory appeal. Gonzalez has already asked the district court
   for leave to amend her complaint in the event it is found deficient. Even
   accepting, then, the dissent’s theory of pleading defect (and even setting
   aside the party presentation principle), I see no reason why we would deprive
   Gonzalez of the opportunity to amend her complaint, and the dissent offers
   none. So whatever we do, we aren’t ending this litigation today—not under
   the majority’s theory or the dissent’s.
                                        ***
          The approach proposed by the dissent is a marked departure from our
   established norms—both the principle of party presentation and the judicial
   discretion not to reach uncertified issues (particularly when no party has
   asked us to do so). The dissent disagrees with the majority’s adherence to
   these norms. But it should not be surprised by it. It’s what the Eleventh
   Circuit did in Barrientos v. CoreCivic, Inc., 951 F.3d 1269 (11th Cir. 2020)—a
   case involving the same defendant and the same specified issue on
   interlocutory appeal.    And it’s what the Supreme Court instructed in




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   Sineneng-Smith—consistent with the proper, restrained role of the judiciary
   in our adversarial system of adjudication. I concur.




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   Andrew S. Oldham, Circuit Judge, dissenting:
          The majority and I agree that our jurisdiction under 28 U.S.C.
   § 1292(b) extends to the entire “order” we certified for interlocutory review.
   We disagree about whether to exercise that jurisdiction. I would exercise it
   and reverse.
                                          I.
          I begin, as always, with jurisdiction and the statutory text. We have
   jurisdiction under 28 U.S.C. § 1292(b). The text provides:
          When a district judge, in making in a civil action an order not
          otherwise appealable under this section, shall be of the opinion
          that such order involves a controlling question of law as to which
          there is substantial ground for difference of opinion and that an
          immediate appeal from the order may materially advance the
          termination of the litigation, he shall so state in writing in such
          order. The Court of Appeals . . . may thereupon, in its
          discretion, permit an appeal to be taken from such order, if
          application is made to it within ten days after the entry of the
          order.

   28 U.S.C. § 1292(b) (emphases added). The statutory text indicates that
   “appellate jurisdiction applies to the order certified to the court of appeals,
   and is not tied to the particular question formulated by the district court.”
   Yamaha Motor Corp. v. Calhoun, 516 U.S. 199, 205 (1996); see also United
   States v. Stanley, 483 U.S. 669, 677 (1987) (explaining that § 1292(b) “brings
   the ‘order,’ not the question, before the court”). Our en banc precedent is in
   accord. See Castellanos-Contreras v. Decatur Hotels, LLC, 622 F.3d 393, 398–
   400 (5th Cir. 2010) (en banc). As is the leading federal courts treatise. See 16
   Charles Alan Wright, Arthur R. Miller & Edward H.




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   Cooper, Federal Practice and Procedure § 3929, at 454 (3d ed.
   2012) [hereinafter “Wright & Miller”] (“[T]he scope of the issues
   open to the court of appeals is closely limited to the order appealed from, but
   not to the specific stated question.”). Thus, our panel unanimously agrees
   that we can review the district court’s “entire order, either to consider a
   question different than the one certified as controlling or to decide the case
   despite the lack of any identified controlling question.” Yamaha, 516 U.S. at
   205 (quotation omitted).
          Here, the district court denied CoreCivic’s motion to dismiss under
   Rule 12(b)(6). That’s the order the district court certified under 28 U.S.C.
   § 1292(b), and it’s the order we accepted for interlocutory appeal under that
   same provision. In the certified-and-accepted order, the district court
   identified what it thought was a controlling legal question—namely, whether
   CoreCivic is exempted from the Trafficking Victims Protection Act. But the
   text of § 1292(b), Yamaha, Stanley, Castellanos-Contreras, and Wright &
   Miller all say that we are not limited to the question identified by the
   district court. Again, our jurisdiction extends to “the order”—that is, the
   order denying CoreCivic’s motion to dismiss.
          The majority nonetheless says we have discretion not to exercise that
   jurisdiction. But cf. Cohens v. Virginia, 19 U.S. (6 Wheat.) 264, 404 (1821)
   (“We have no more right to decline the exercise of jurisdiction which is
   given, than to usurp that which is not given.”). The majority’s theory appears
   to be that we can choose, in our discretion, to limit ourselves to the question
   certified by the district court.
          There are courts that have such discretion, but ours is not one of them.
   For example, state courts have discretion to answer certified questions. See,
   e.g., Tex. R. App. P. 58.1. One reason why is because they’re not bound by
   Article III’s case-or-controversy requirement—which means they’re also




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   not bound by Article III’s prohibition on advisory opinions. See Letter from
   Chief Justice John Jay and the Associate Justices to President George
   Washington (Aug. 8, 1793), in 3 Correspondence & Public Papers
   of John Jay 488–89 (Johnson ed., 1891). If President Washington had
   asked the Pennsylvania Supreme Court what to do about the Little Sarah and
   Citizen Genêt, he might’ve gotten an advisory opinion. But he chose to ask
   the U.S. Supreme Court, so all he got was a reminder that federal courts do
   only one thing: decide cases and controversies. See ibid.
          We decide them not by answering abstract legal questions but by
   rendering judgments. As Justice Scalia once explained for the Court:
          [T]he Framers crafted [Article III’s] charter of the judicial
          department with an expressed understanding that it gives the
          Federal Judiciary the power, not merely to rule on cases, but to
          decide them, subject to review only by superior courts in the
          Article III hierarchy—with an understanding, in short, that a
          judgment conclusively resolves the case because a “judicial
          Power” is one to render dispositive judgments.

   Plaut v. Spendthrift Farm, Inc., 514 U.S. 211, 218–19 (1995) (quotation
   omitted). And when it comes to rendering judgments, we do not have
   discretion. We have to get the judgment right. Every time.
          Perhaps we could limit ourselves to the district court’s certified
   question when it’s sufficient to reach the correct judgment. For example, if
   the district court made two mistakes, we could exercise discretion to correct
   only the one certified by the district court. See Reese v. BP Expl. (Alaska) Inc.,
   643 F.3d 681, 689–90 (9th Cir. 2011). But I do not understand how we could




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   affirm on the certified question where we’re convinced that a second,
   uncertified one would require reversal. *
           That’s particularly true when we’re exercising jurisdiction under
   § 1292(b). After all, § 1292(b) authorizes that jurisdiction where “an
   immediate appeal from the order may materially advance the ultimate
   termination of the litigation.” And it does nothing to advance the litigation—
   in fact, it does the opposite—when we send a case to discovery in the face of
   a deficient complaint. See Cazorla v. Koch Foods of Miss., L.L.C., 838 F.3d
   540, 548 (5th Cir. 2016) (reviewing an uncertified question where “fully
   addressing” the order could “hasten the end of th[e] already long-running
   litigation”); Brabham v. A.G. Edwards & Sons, Inc., 376 F.3d 377, 380 n.2 (5th
   Cir. 2004) (reviewing an uncertified question where doing so would
   “expeditiously resolve” the litigation). In the interest of advancing the
   litigation as required by § 1292(b), our court has even extended review to
   questions that were neither briefed by the parties nor certified by the district
   court. See, e.g., Luera v. M/V Alberta, 635 F.3d 181, 186 (5th Cir. 2011)



           *
              There are plenty of other examples where federal courts have discretion to
   exercise jurisdiction—for example, courts can certify questions to state courts or abstain
   under Pullman, Younger, Colorado River, &c. But of course, none of those entails entering
   an erroneous judgment. And even the most ardent proponents of jurisdictional discretion
   insist that it’s guided by some principle exogenous to the case or controversy. Compare
   David L. Shapiro, Jurisdiction and Discretion, 60 N.Y.U. L. Rev. 543, 577–79 (1985)
   (defending “principled discretion” in exercising jurisdiction, guided by “criteria drawn
   from the relevant statutory or constitutional grant of jurisdiction or from the tradition
   within which the grant arose”), with Martin Redish, The Federal Courts in
   the Political Order: Judicial Jurisdiction and American Political
   Theory 47–74 (1991) (arguing failure to exercise jurisdiction cannot be reconciled with
   Congress’s lawmaking role), and Alexander Bickel, The Least Dangerous
   Branch: The Supreme Court at the Bar of Politics 173 (1962) (arguing
   that, whatever jurisdictional discretion the Supreme Court might have, inferior federal
   courts must “resolve all controversies within their jurisdiction, because the alternative is
   chaos”).




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   (addressing an unbriefed, uncertified question because resolving it could
   moot other questions).
                                         II.
          We unquestionably have jurisdiction over the district court’s entire
   order denying CoreCivic’s motion to dismiss under Rule 12(b)(6). Reviewing
   that order, I am convinced that plaintiff failed to state a claim. See Bell Atl.
   Corp. v. Twombly, 550 U.S. 544 (2007); Ashcroft v. Iqbal, 556 U.S. 662 (2009).
   I would reverse and instruct the district court to dismiss the complaint.
                                         A.
          Gonzalez alleges that CoreCivic is operating (and the United States is
   paying for) a slave-labor camp. That claim implicates two statutes: one that
   authorizes detainee work programs and another that prohibits human
   trafficking.
          Let’s start with the statutory authorization. Congress has long
   authorized paid voluntary work programs for noncitizens in detention. See 8
   U.S.C. § 1555. Section 1555 authorizes the “payment of allowances to aliens,
   while held in custody under the immigration laws, for work performed.”
   Ibid.; see also Dep’t of Just. Appropriation Act, Pub. L. No. 95-86, 91 Stat.
   426 (1978) (setting pay rate for detainee work pursuant to voluntary work
   program at $1 per day). Such work programs are governed by Immigration
   and Customs Enforcement’s Performance-Based National Detention
   Standards. See Immigr. and Customs Enf’t, Performance Based National
   Detention Standards § 5.8, at 405–09 (2011) [hereinafter “PBNDS”]. The
   PBNDS allows detainees to “volunteer for work assignments” and
   guarantees monetary compensation of “at least $1.00 (USD) per day” for
   any work completed. Id. at 405, 407. PBNDS programs are purely voluntary:
   “Detainees shall be able to volunteer for work assignments but otherwise
   shall not be required to work, except to do personal housekeeping.” Id. at




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   405. CoreCivic operates PBNDS programs in Texas for the benefit of the
   United States and ICE.
          On the extreme other end of the voluntariness spectrum is the
   Trafficking Victim Protection Act of 2000, Pub. L. No. 106-386, 114 Stat.
   1464 (“TVPA”). Congress enacted the TVPA to prohibit slavery. See 22
   U.S.C. § 7101(a). The TVPA imposes criminal penalties on “[w]hoever
   knowingly provides or obtains the labor or services of a person by any one of,
   or by any combination of” threats, force, restraint, or threat of harm or abuse.
   18 U.S.C. § 1589(a), (d). Section 1595 permits “an individual who is a victim
   of a violation” to bring a civil action against the perpetrator to recover
   damages. Id. § 1595. Gonzalez alleges that CoreCivic’s PBNDS programs are
   not voluntary at all; in reality, she says, they’re slave-labor camps that entitle
   her to money damages under the TVPA.
          Thus to state a claim, Gonzalez first must allege that CoreCivic
   violated the PBNDS. In the absence of such an allegation, PBNDS programs
   like CoreCivic’s are by definition voluntary. See PBNDS § 5.8 at 405. Then,
   assuming Gonzalez pleaded that CoreCivic’s work programs are involuntary,
   she must also allege that they violate the TVPA’s anti-slavery provisions.
                                          B.
                                           1.
          Let’s start with Gonzalez’s purely conclusory allegations. These must
   be ignored altogether. See Iqbal, 556 U.S. at 680–81.
          For example, Gonzalez claims that “CoreCivic owns forced labor
   camps” that treat detainees as a “slave labor force” to “amass profits and
   revenues.” She further claims that “CoreCivic’s acts were carried out with
   intent, malice, oppression, fraud and duress” with the only goal being profit
   maximization. The complaint alleges that CoreCivic’s business model is a




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   “go directly to jail and work for free” system, under which the company uses
   “egregious, unconstitutional, illegal and unfair labor practices” to
   “maximize its profits.” The complaint further explains that the company
   “made it very clear, through words and deeds, that unless the detainees
   worked, CoreCivic would increase their misery.” Gonzalez claims that these
   “draconian and harsh” conditions and the forced labor led to billions of
   dollars in revenue for CoreCivic, while causing “severe mental distress and
   anguish” to enslaved detainees.
          These conclusory allegations are insufficient to state a claim under
   Twombly and Iqbal. They boil down to little more than “formulaic recitation
   of the elements” of a claim under the TVPA—namely, that CoreCivic
   maliciously runs slave-labor camps focused on extracting free labor to bolster
   corporate bottom lines. Twombly, 550 U.S. at 555. The allegations fail not
   because of their fanciful nature, but instead because they contravene Twombly
   and Iqbal by nakedly asserting conclusions. See Iqbal, 556 U.S. at 681;
   Twombly, 550 U.S. at 551.
                                         2.
          Not all of Gonzalez’s claims are so conclusory, however. For example,
   Gonzalez alleges that “detainees were forced to work, and if they refused,
   they were subjected to various punishments, including but not limited to
   solitary confinement and deprivation of facilities.” Specifically, Gonzalez
   claims that CoreCivic forced detainees to “clean the ‘pods’ where they were
   housed, and . . . clean, maintain, and operate other areas of the CoreCivic
   detention facilities under threat of punishment.” Gonzalez claims that she
   worked “virtually every day . . . in the kitchen, [and] sorting clothing” among
   other duties. According to Gonzalez, “CoreCivic continually” told
   “detainees that the work was voluntary” but subversively threatened them
   with punishment if they refused. This threatened punishment included




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   subjecting detainees to solitary confinement, denying them “toothbrushes
   and toothpaste,” and forcing them to “wait hours” for “sanitary or other
   feminine products.”
          Gonzalez plainly alleges that she was forced to work—but she does
   not allege that any of these requirements violated the PBNDS. For example,
   Gonzalez complains that she was required to clean her “pod” at threat of
   penalty. That isn’t helpful for showing CoreCivic’s liability under the TVPA
   because the PBNDS requires detainees to clean their private cells, and the
   PBNDS falls outside of the reach of the TVPA. See PBNDS § 5.8V(C), at
   406. Under the PBNDS, detainees’ refusal to clean their private areas can
   subject them to loss of commissary privileges to purchase personal hygiene
   items, and even to solitary confinement of up to 72 hours. See id. § 3.1 app.
   3.1.A, at 225–26. Gonzalez further claims that she worked in a variety of
   contexts and was paid between $1.00 and $2.00 per day. But the PBNDS
   plainly authorizes all of this under specified circumstances—and Gonzalez
   does not allege that CoreCivic ever exceeded the PBNDS’s disciplinary
   measures.
          Gonzalez also focuses on the alleged threats to detainees who refused
   to work. But the complaint doesn’t identify any particular instances of
   CoreCivic threatening detainees. See Morgan v. Swanson, 659 F.3d 359, 370
   (5th Cir. 2011) (en banc) (declining to adopt naked assertions “devoid of . . .
   factual enhancement” (quotation omitted)). Nor does it differentiate
   between alleged punishment for failing to perform work that a detainee has
   voluntarily assumed (as permitted by the PBNDS) and punishment for
   refusal to participate in the voluntary work program to begin with. Further,
   Gonzalez alleges that CoreCivic threatened her with the loss of certain
   personal items. But she does not allege that CoreCivic did so in violation of
   the PBNDS. And the PBNDS specifically authorizes CoreCivic to take away
   commissary privileges (and hence access to personal items) when detainees



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   commit disciplinary infractions. See PBNDS § 3.1 app. 3.1.A, at 226. Thus,
   Gonzalez’s threat allegations are at very most consistent with liability under
   the TVPA—and that’s insufficient to survive Rule 12(b)(6). See Iqbal, 556
   U.S. at 678; Twombly, 550 U.S. at 557.
                                        III.
          Finally, a word about United States v. Sineneng-Smith, 140 S. Ct. 1575
   (2020). In that case, the Ninth Circuit appointed amici, invited them to brief
   and argue novel issues framed by the panel, and introduced legal questions
   never raised by either party at any point in the case. Id. at 1578. Then, based
   solely on questions injected into the case by the Ninth Circuit, the panel held
   a federal statute unconstitutional. See id. at 1581. The Supreme Court
   reversed because the Ninth Circuit affected a “radical transformation” of the
   case and violated the party-presentation principle. Id. at 1582.
          My position is the opposite of Sineneng-Smith. That’s for at least two
   reasons.
          First, I would follow the Supreme Court’s specific instructions in
   Yamaha and Stanley (as well as our en banc court’s instructions in
   Castellanos-Contreras). It would be quite something if following the Supreme
   Court’s instructions regarding § 1292(b) jurisdiction somehow violated the
   party-presentation principle. And far from urging anyone to hold
   unconstitutional a statute enacted by Congress, I would decide this case by
   respecting the statutes Congress enacted to regulate our jurisdiction and to
   bless voluntary work programs.
          Second, the parties have vigorously litigated the deficiencies in
   Gonzalez’s complaint. In its answer, CoreCivic argued that Gonzalez failed
   to state a claim. And in its motion to dismiss, CoreCivic alleged two
   infirmities in Gonzalez’s complaint. First, CoreCivic reasserted the absence
   of factual pleadings sufficient to withstand 12(b)(6) scrutiny. And second, the




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   motion to dismiss explained that Gonzalez failed to plead facts sufficient to
   make the necessary predicate finding that CoreCivic violated the voluntary
   work program expressly authorized by Congress in the Department of Justice
   Appropriation Act of 1978. It’s the denial of that Rule 12(b)(6) motion that’s
   before us today.
                                  *        *         *
          Gonzalez alleges that a major government contractor conspired with
   the United States to enslave immigrant detainees. Stripped of its rhetoric, the
   complaint offers allegations that she was required to work at the direction of
   CoreCivic agents. But Gonzalez offers no allegations whatsoever that
   CoreCivic required her to do anything that the PBNDS did not require. That
   makes her complaint plainly insufficient. I would reverse.




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                   United States Court of Appeals
                                 FIFTH CIRCUIT
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                           February 18, 2021


Ms. Jeannette Clack
Western District of Texas, Austin
United States District Court
501 W. 5th Street
Austin, TX 78701-0000

      No. 19-50691     Gonzalez v. CoreCivic
                       USDC No. 1:18-CV-169


Dear Ms. Clack,
Enclosed is a copy of the judgment issued as the mandate and a
copy of the court's opinion.
                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Roeshawn Johnson, Deputy Clerk
                                  504-310-7998
cc:   Mr.   Nicholas D. Acedo
      Mr.   Josef Franz Buenker
      Mr.   Thomas Henry Padgett Jr.
      Mr.   Iain Gordon Simpson
